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1                              UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
2                                 SAN FRANCISCO DIVISION
3
     FEDERAL TRADE COMMISSION,
4
                Plaintiff,
5
           v.                                Case No. 3:23-cv-01710-AMO
6
     INTERCONTINENTAL                        SCHEDULING ORDER
7    EXCHANGE, INC.
8    and
9    BLACK KNIGHT, INC.,
10              Defendants.
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            A case management conference was held on May 12, 2023. Having considered the
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2    parties’ proposals, the Court SETS the following deadlines with respect to the FTC’s claim for a

3    preliminary injunction under Section 13(b) of the Federal Trade Commission Act and any

4    defenses to that claim pursuant to Federal Rule of Civil Procedure 16 and Civil Local Rule 16-
5    10:
6
                              Event                                         Deadline
7     Close of fact discovery, other than depositions of      May 23, 2023 [agreed]
      experts, and discovery for purposes of authenticity
8     of exhibits; provided that this deadline will not
9     preclude the parties from completing discovery of
      third-parties pursuant to timely served subpoenas
10    whose document productions have not been
      completed by May 23, 2023 and/or who did not
11    make themselves reasonably available for
      deposition pursuant to a timely subpoena within
12
      the fact discovery period.
13
      Deadline for parties to provide opening expert          May 30, 2023 [agreed]
14    witness reports and all materials required by
      Additional Provision 21 of Chief Administrative
15    Law Judge Chappell’s March 29 Scheduling Order
16    in Dkt. No. 9413.

17    Deadline for Plaintiff to file its memorandum in        June 2, 2023
      support of its request for a preliminary injunction,
18    which shall not exceed 30 pages.
19
      Deadline for Defendants to file memorandum(s) in        June 16, 2023
20    opposition to the Plaintiff’s request for a
      preliminary injunction. Defendants’
21    memorandum(s) shall cumulatively not exceed 30
      pages.
22

23    Deadline for parties to identify rebuttal expert(s)     June 23, 2023 [agreed]
      and provide rebuttal expert report(s) and all
24    materials required by Additional Provision 21 of
      Chief Administrative Law Judge Chappell’s
25    March 29 Scheduling Order in Dkt. No. 9413. Any
      such reports are to be limited to rebuttal of matters
26
      set forth in the parties’ opening expert reports. If
27    material outside the scope of fair rebuttal is

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     presented, parties will have the right to seek
1
     appropriate relief (such as striking rebuttal expert
2    reports or seeking leave to submit surrebuttal
     expert reports).
3
     Deadline for Plaintiff to file its reply memorandum    June 23, 2023
4    in support of its request for a preliminary
5    injunction. The FTC’s reply memorandum shall
     not exceed 15 pages.
6
     Parties that intend to offer as evidence materials     June 26, 2023
7    designated as confidential by an opposing party or
     non-party shall provide notice to the opposing
8
     party or non-party by this date.
9
     Deadline for depositions of experts (including         June 29, 2023 [agreed]
10   rebuttal experts) and exchange of expert related
     exhibits.
11

12   Deadline to file motions for in camera treatment of    June 30, 2023
     proposed hearing exhibits.
13
     Deadline to file motions in limine. Any briefs in      June 30, 2023
14   support of, or opposition to, motions in limine,
15   including Daubert motions, shall not exceed 10
     pages.
16
     Deadline to file proposed pre-hearing findings of      June 30, 2023
17   fact and conclusions of law. Each side’s proposed
18   pre-hearing findings of fact and conclusions of law
     shall not exceed 50 pages.
19
     Deadline to submit direct evidence through             June 30, 2023
20   declarations, deposition designations, and exhibits.
21
     Deadline to file responses to motions for in camera    July 6, 2023
22   treatment of proposed hearing exhibits.

23   Deadline to file opposition to motions in limine.      July 6, 2023
24
     Pre-hearing conference.                                July 20, 2023 at 11 am
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      Evidentiary hearing on Plaintiff’s Motion begins.         July 25, 2023 at 9 am
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      The parties will cross-exam witnesses, as well as
2     redirect them. The parties are limited to 8 hours per
      side.
3
      Deadline to submit post-hearing proposed findings         July 31, 2023
4     of fact and conclusions of law. Each side’s post-
5     hearing proposed findings of fact and conclusions
      of law shall not exceed 75 pages.
6

7

8           Any party may seek modification of this Order for good cause, except that the parties

9    may also modify discovery and expert disclosure deadlines by agreement.

10   IT IS SO ORDERED.
11

12          Dated: June 6, 2023                               _____________________________
                                                              ARACELI MARTÍNEZ-OLGUÍN
13                                                            UNITED STATES DISTRICT JUDGE
                                                              NORTHERN DISTRICT OF CALIFORNIA
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